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                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF MISSOURI
                                          EASTERN DIVISION

       BARBARA ROSENBLOOM, individually,                 )
       and on behalf of all others similarly situated,   )
                                                         )
                              Plaintiff,                 )
                                                         )           Case No. 4:19-CV-02359 (SNLJ)
       vs.                                               )
                                                         )
       VIVINT, INC. ,                                    )
                                                         )
                              Defendant.                 )

                                      STIPULATION OF DISMISSAL

             Pursuant to Fed, R, Cjy, P, 41 (a)(] )(A)(jj) of the Federal Rules of Civil Procedure, Plaintiff

      Barbara Rosenbloom hereby dismisses her claims in the above-referenced action against

      Defendant Vivint, Inc. with prejudice.



       Isl Christopher E. Roberts                        Isl Matthew D. Knepper
       Christopher E Roberts, #61895                     Matthew D. Knepper, #6173 lMO
       David T. Butsch, #37539                           Sarah Zimmerman, #69440MO
       Butsch Roberts & Associates LLC                   Husch Blackwell LLP
       231 S. Bemiston Ave., Suite 260                   190 Carondelet Plaza, Suite 600
       Clayton, MO 63105                                 St. Louis, MO 63105
       Telephone: (314) 863-5700                         Telephone: (314) 480-1500
       Facsimile: (314) 863-5711                         Facsimile: (314) 480-1505
       dbutsch@butschroberts.com                         matt.knepper@huschblackwell.com
       croberts@ butschroberts.com                       sarah.zimmerman@huschblackwell.com

       Attorney for Plaintiff                            Counsel for Vivint, Inc.



                                           CERTIFICATE OF SERVICE
             The undersigned hereby certifies that on April 16, 2020, a copy of the foregoing has been
      served upon all counsel of record through the Court's electronic filing system.

SO ORDERED this 20th day of April , 2020                     Isl Christopher E. Roberts


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STEPHEN N. L I ~ J R .
UNITED STA TES DISTRICT JUDGE
